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                          IN THE UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF GEORGIA
                                   COLUMBUS DIVISION

DEMARIUS DEAN,                                      )
                                                    )
         Plaintiff,                                 )
                                                    )
                                                         CIVIL ACTION
vs.                                                 )
                                                         FILE NO.: _________________
                                                    )
STEPHEN SCHNOES, EQUINE                             )
                                                         DEMAND FOR JURY TRIAL
EXPRESS N.A., INC. and OLD                          )
REPUBLIC INSURANCE CO.,                             )
                                                    )
         Defendants.                                )

                                     NOTICE OF REMOVAL

         Defendants Stephen Schnoes, Equine Express N.A., Inc. and Old Republic Insurance Co.

(collectively referred to herein as the "Defendants"), specially appearing solely for purposes of

this removal, file this Notice of Removal showing the Court as follows:

                                               1.

         Plaintiffs filed a civil action in the State Court of Houston County, Georgia, naming

Defendants Stephen Schnoes, Equine Express N.A., Inc. and Old Republic Insurance Co. as

defendants. See Civil Action File No. 2021-V-53589 (Houston Cnty.). Plaintiff alleges injuries

stemming from a motor vehicle accident that allegedly occurred on October 26, 2019 on I-75 in

Monroe County, Georgia. The entire state court file is attached hereto as Exhibit "A."

                                               2.

         At the time the Complaint was filed, Plaintiff was a citizen of the State of Georgia.

                                               3.

         At the time the Complaint was filed, Defendant Stephen Schnoes was a citizen of the

State of Colorado.




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                                              4.

         At the time of the filing of the Complaint, Equine Express N.A., Inc. was a corporation

incorporated under the laws of the State of Texas with its principal place of business located

therein. Therefore, Equine Express is deemed to be a citizen of the State of Texas for purposes of

diversity jurisdiction.

                                              5.

         At the time of the filing of the Complaint, Old Republic Insurance Corporation was a

corporation incorporated under the laws of the State of Delaware with its principal place of

business located in the State of Illinois. Therefore, Old Republic is deemed to be a citizen of the

States of Delaware and Illinois for purposes of diversity jurisdiction.

                                              6.

         In the Complaint, Plaintiff alleges that due to the motor vehicle accident he sustained

serious injuries and has incurred medical expenses. Compl. ¶¶ 5.

                                              7.

         Plaintiff is seeking to recover past medical expenses and an unknown amount of

additional special and general damages, including past and future actual damages and past and

future pain and suffering. Id. ¶ 9.

                                              8.

         Although Plaintiff's complaint does not specify the amount of damages that he is seeking,

 Plaintiff's complaint does state that he has incurred medical expenses totaling in excess of

 $40,070.17, which does not include his alleged future medical treatment, alleged property

 damage, or alleged pain and suffering. Id. ¶ 5, 9.




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                                                9.

         In cases such as these, Defendants believe it is facially apparent that Plaintiff will be

seeking damages in excess of $75,000 associated with their alleged injuries stemming from the

subject accident.

                                                10.

         As of the time of the filing of this removal, the amount in controversy more likely than

not exceeds the jurisdictional limit of $75,000, exclusive of interest and costs. See Roe v.

Michelin North America, Inc., 613 F.3d 1058 (11th Cir. 2010).

                                                 11.

         Based on Plaintiff's allegations in the Complaint, Plaintiff’s alleged injuries, medical

expenses alleged to be related to the subject incident, pain and suffering alleged to be related to

the subject incident, and alleged property damage, the total of the alleged special and general

damages at issue in this matter exceeds the amount in controversy requirement for removal to

this court, and the jurisdictional prerequisite is therefore satisfied. There is diversity of the parties

at the time of this removal, which satisfies the remaining requisite elements of jurisdiction and

entitles Defendants to remove this action to the United States District Court for the Middle

District of Georgia, Macon Division, pursuant to 28 U.S.C §§ 1332 and 1446.

                                                12.

         The foregoing action is properly removable to this Court pursuant to 28 U.S.C. § 1441(a),

28 U.S.C §§ 1446(a) and (b) and, in accordance with U.S.C. § 1332(a), there being a complete

diversity of citizenship between Plaintiffs and Defendants, and the amount in controversy,

exclusive of interest and costs, exceeds the sum of $75,000.




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                                              13.

         Now, within thirty days after the receipt by Defendants of the document indicating that

the amount in controversy has been met and thus making the case removable to this Court, notice

is hereby given, in accordance with 28 U.S.C. § 1446 and pursuant to Rule 11 of the Federal

Rules of Civil Procedure, of the removal of said action to this Court.

                                              14.

         Written notice of the filing of this Notice of Removal will be given to all parties as

required by 28 U.S.C § 1446.

                                              15.

         A true and correct copy of this Notice of Removal will be filed with the Clerk of the

Superior Court of Houston County, Georgia, as required by 28 U.S.C § 1446.

         WHEREFORE, Defendants pray that the above-captioned lawsuit be removed to the

United States Court for the Middle District of Georgia, Macon Division.



         Respectfully submitted, this 12th day of November, 2020.

                                                    BAKER, DONELSON, BEARMAN
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                                                    Insurance Co.




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                                CERTIFICATE OF SERVICE

         This is to certify that on November 12, 2020, I served a copy of the foregoing NOTICE

OF REMOVAL with the Clerk of Court using the CM/ECF filing system, which will

automatically send email notification of such filing and via U.S. First Class Mail to the following

attorney of record:

Zack Dozier
Micah East
The Dozier Law Firm, LLC
327 Third Street
Macon, Georgia 31201



                                                  BAKER, DONELSON, BEARMAN
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                                                  Equine Express N.A., Inc. and Old Republic
                                                  Insurance Co.




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